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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: GLUGAGON-LIKE                 :                        CIVIL ACTION
PEPTIDE-1 RECEPTOR AGONISTS          :
(GLP-1 RAS) PRODUCTS                 :
LIABILITY LITIGATION                 :
___________________________________ :
                                     :
THIS DOCUMENT RELATES TO:            :                        MDL No. 3094
                                     :                        24-md-3094
ALL ACTIONS/ALL CASES                :
____________________________________

                                             ORDER
       AND NOW, this 18th day of April, 2024, upon consideration of the Motions for Pro Hac

Vice Admission (Doc. Nos. 84, 88, 89, 97), it is ORDERED that the Motions (Doc. Nos. 84, 88,

89, 97) are GRANTED and the following counsel are admitted pro hac vice for this Litigation, as

follows:

       1. Dr. Lucas Przymusinski, Esquire is admitted pro hac vice as counsel for the Novo

           Nordisk Defendants.

       2. Jonathan M. Redgrave, Esquire is admitted pro hac vice as counsel for Defendant Eli

           Lilly and Co.

       3. Erica Zolner, Esquire is admitted pro hac vice as counsel for Defendant Eli Lilly and

           Co.

       4. Anne Salomon, Esquire is admitted pro hac vice as counsel for Defendant Eli Lilly and

           Co.

       Counsel shall (i) familiarize and comport themselves in accordance with the Pennsylvania

Rules of Professional Conduct and the rules of this Court, and (ii) presenting counsel shall continue

to have responsibility for this matter during its pendency before the Court. Pursuant to this Order,

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the above-named counsel shall be permitted to participate in all aspects of the instant litigation on

behalf of their clients. 1

                                                       BY THE COURT:


                                                       s/ Gene E.K. Pratter
                                                       GENE E.K. PRATTER
                                                       UNITED STATES DISTRICT JUDGE




1
        Counsel must request access to ECF through a PACER account. Information about this process
can be found on the Court’s website by using the following link: https://www.paed.uscourts.gov/nextgen-
cmecf.

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